Case 2:05-cv-02376-BBD-dkv Document 6 Filed 07/28/05 Page 1 of 2 Page|D 18

UNITED STA ms ms TRICT coURT mfg avAg£- o.c.
WESTERN DISTRICT OF TENNES.§LEB mm du

WESTERN DIVISIoN °`5~’

 

 

CARLOS L. RICE J'U'DGMENT IN A CI'V`IL CASE
v~
DAVID MILLS CASE NO: 05-2376-1)

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order of
Dismissal entered on July 21, 2005, this cause is hereby dismissed.

APPROVED :

 

ITED STATES DISTRICT COURT

 

09 dd "" THOMASM. GOULD
D Clerk o:E Court
Q&@é@»@f

(Byy netpr clerlaj

This document entered ott the docket sheet in co/mp|lance

with Ftule 58 and/er 79(e) FRCP on 5 249 5 &

thice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02376 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

Carlos L. Rice

WEST TENNESSEE STATE PENITENTIARY
259965

P.O. Box l 150

Henning, TN 38041

Honorable Bernice Donald
US DISTRICT COURT

